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EXHIBIT R
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Tina Williams

From: Tina Williams

Sent: Wednesday, November 30, 2016 12:15 PM

To: Tina Williams

Subject: FW: Thank you again for your time today Mr. Oates!

From: Bart Oates [mailto:boates66@gmail.com]

Sent: Monday, November 28, 2016 6:17 PM

To: Tina Williams <tina@mitnicklegal.com>

Subject: Re: Thank you again for your time today Mr. Oates!

Early in 2012 there was a need for former players obtain information on the NFL Concussion Lawsuit. Initially, many
retired players were cautious to become involved in the lawsuit, given the concern of being negatively labeled or judged.
Craig initiated creative ideas, such as held live telephone Q&A sessions and traveled to the NY/NJ NFL Alumni Chapter
meeting to personally present to themembers. Craig clarified misinformation and educated not only those in
attendance, but many others as well. He provided printed literature to take home as well as pass along to other former
players regarding the benefits of joining the litigation and remaining in the litigation.

Craig's commitment to the former players has been demonstrated by his vision, tireless efforts and personal sacrifice.
He has been a leader in making sure that former players who are suffering from TBls are well represented.

Bart Oates
201-370-8333
boates66(@gmail.com

